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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Civil Action No. 21-cv-02296-RMR-NYW

  CRYSTAL PACKAGING, INC.,

         Plaintiff,

  v.

  THE LIBMAN COMPANY,

         Defendant.

                ORDER SETTING RULE 16(b) SCHEDULING CONFERENCE

  Magistrate Judge Nina Y. Wang

          IT IS ORDERED that a Scheduling Conference is set for January 3, 2022 at 10:00 a.m.,
  via telephone conference. All participants shall use the following dial-in information: 888-363-
  4749, Access Code: 5738976#.

          A copy of the instructions for the preparation of a scheduling order and a form of
  scheduling order can be downloaded from the court’s website at www.cod.uscourts.gov. The
  parties or their counsel shall submit their proposed scheduling order, pursuant to District of
  Colorado Electronic Case Filing (“ECF”) Procedures V.6.0, including a copy of the proposed
  scheduling order in a Word format sent via email to Wang_Chambers@cod.uscourts.gov, seven
  days prior to the Scheduling Conference.

          IT IS FURTHER ORDERED that counsel/pro se parties in this case shall hold a pre-
  scheduling conference meeting and prepare a proposed Scheduling Order in accordance with Fed.
  R. Civ. P. 26(f) and D.C.COLO.LCivR 16.1 and 26.1(a) on or before twenty-one days prior to
  the Scheduling Conference. Pursuant to Fed. R. Civ. P. 26(d) no discovery shall be sought until
  after the pre-scheduling conference meeting.

         IT IS FURTHER ORDERED the parties shall comply with the mandatory disclosure
  requirements of Fed. R. Civ. P. 26(a)(1) on or before fourteen days after the pre-scheduling
  conference meeting.


  DATED: November 16, 2021                           BY THE COURT:

                                                     ____________________________
                                                     Nina Y. Wang
                                                     United States Magistrate Judge
